  Case 2:19-cv-21077-ES-SCM Document 1 Filed 12/04/19 Page 1 of 6 PageID: 1



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY



 KIA VINCENT,
                                                    Civil Action No.
        Plaintiff,

 vs.
                                                                  COMPLAINT
 AMERICAN DREAM HOME GOODS,
 INC., and JIANYING WANG,
                                                               Jury Trial Demanded
 Individually,

        Defendants.


       Plaintiff KIA VINCENT (“Vincent” or “Plaintiff”), by and through her attorneys, brings

this Complaint against Defendants AMERICAN DREAM HOME GOODS, INC. (“ADHG”) and

JIANYING WANG, individually (“Wang”) (collectively “Defendants”), and alleges as follows:

INTRODUCTION

       1.      Plaintiff brings this lawsuit seeking recovery against Defendants for Defendants’

violation of the Fair Labor Standards Act, as amended (the “FLSA” or the “Act”), 29 U.S.C. §201

et. seq. and the New Jersey State Wage and Hour Law, N.J.S.A. 34:11-56a et seq. (“NJWHL”).

JURISDICTION AND VENUE

       2.      This Court has subject matter jurisdiction over Plaintiff’s FLSA claims pursuant to

28 U.S.C. § 1331 and by 29 U.S.C. § 216(b).

       3.      This Court has subject matter jurisdiction over Plaintiff’s NJWHL claims pursuant

to 28 U.S.C. §§ 1332 and 1367.




                                                1
  Case 2:19-cv-21077-ES-SCM Document 1 Filed 12/04/19 Page 2 of 6 PageID: 2



          4.    Venue is proper in the District of New Jersey pursuant to 28 U.S.C. § 1391(b)(2)

because a substantial part of the events or omissions giving rise to the claims occurred in this

district.

          5.    At all times material hereto, Plaintiff performed non-exempt shipping coordination

duties for the Defendants in Elizabeth, Union County, New Jersey. Defendants are therefore within

the jurisdiction and venue of this Court.

          6.    At all times pertinent to this Complaint, ADHG was and is an enterprise engaged

in interstate commerce or in the production of interstate goods for commerce as defined by the

Act, 29 U.S.C. §§ 203(r) and 203(s). More specifically, American Dream Home Goods Inc. is a

company with over 25 years of experience in the retail industry. They are a business-to-business

company offering over 600 items for a kitchen, bathroom, and other parts of a home or office.

Defendants also sell furniture, and Home Décor. Defendants have a business relationship with

global manufacturers, and transportation companies. Alternatively, Plaintiff worked in interstate

commerce so as to fall within the protections of the Act.

PARTIES

          7.    Plaintiff is an adult individual who is a resident of Elizabeth, Union County, New

Jersey.

          8.    Plaintiff became employed by Defendants full time as a shipping coordinator, her

duties include, but are not limited to, entering orders, and creating invoices.

          9.    Plaintiff was hired in or about November 2018. Plaintiff continues to work for

Defendants to date.

          10.   Upon information and belief, the Defendants own a business to business retail

company that sells furniture, kitchen accessories, home décor items, as well as other products.




                                                  2
  Case 2:19-cv-21077-ES-SCM Document 1 Filed 12/04/19 Page 3 of 6 PageID: 3



       11.     Upon information and belief, the Defendants are headquartered in Elizabeth,

Union County, New Jersey.

       12.    Upon information and belief, at all times relevant to this Complaint, the corporate

Defendant employs individuals to perform labor services on its behalf.

       13.    Upon information and belief, at all times relevant to this Complaint, the ADHG’s

annual gross volume of sales made or business done was not less than $500,000.00.

       14.    At all times relevant to this Complaint, the Defendant is an employer engaged in

commerce under the Fair Labor Standards Act, 29 U.S.C. § 201 et seq.

       15.    Upon information and belief, Defendant Wang is a New Jersey state resident.

       16.    Upon information and belief, at all times relevant to this Complaint, individual

Defendant Wang has been an owner, partner, officer and/or manager of the Defendant ADHG

business.

       17.    Upon information and belief, at all times relevant to this Complaint, individual

Defendant Wang has had power over personnel decisions at the Defendant ADHG’s business,

including the management of day to day operations, control over employee pay practices and the

power to change same, and the power to hire and fire employees, set their wages, and otherwise

control the terms of their employment.

                                            FACTS

       18.    Based upon the information preliminarily available, and subject to discovery in this

cause, the Defendants did not properly compensate Plaintiff for all overtime hours worked in a

work week.

       19.    Plaintiff routinely works five (5) days per week for Defendants.




                                               3
  Case 2:19-cv-21077-ES-SCM Document 1 Filed 12/04/19 Page 4 of 6 PageID: 4



       20.     Plaintiff routinely worked from 7:30 a.m. until 6:30 p.m. each day and took a thirty

(30) minute meal break.

       21.     Plaintiff routinely worked on average approximately fifty-two and a one half (52.5)

hours per workweek on behalf of Defendants.

       22.     Plaintiff was paid the same amount of money each week, regardless of the actual

hours she worked. When she was initially hired, she was paid $600.00 per workweek, and then

after three (3) months, $750.00 per workweek.

       23.     Plaintiff was not compensated at one and one half times her regular rate of pay for

those hours worked in excess of forty (40) in a work week.

       24.     Defendants have engaged in a widespread pattern, policy, and practice of violating

the FLSA and NJWHL, as described in this Complaint.

       25.     At all times material hereto, Plaintiff was performing her duties for the benefit of

and on behalf of Defendants.

       26.     This cause of action is brought to recover from Defendants overtime compensation,

liquidated damages, and the costs and reasonable attorneys’ fees under the provisions of 29 U.S.C.

§216(b), as well as applicable provisions of NJWHL.

       27.     The records, if any, concerning the number of hours worked by Plaintiff are in the

possession and custody of Defendants.

       28.     The records, if any, concerning the compensation actually paid to Plaintiff, are in

the possession and custody of Defendants.

       29.     At all times pertinent to this complaint, Defendants failed to comply with Title 29

U.S.C. §§ 201-209, as well as applicable provisions of the NJWHL, in that Plaintiff performed

services and labor for Defendants for which Defendants made no provision to pay Plaintiff




                                                4
  Case 2:19-cv-21077-ES-SCM Document 1 Filed 12/04/19 Page 5 of 6 PageID: 5



compensation to which she was lawfully entitled for all of the hours worked in excess of forty (40)

within a work week.

       30.     Plaintiff has retained the law office of Jaffe Glenn Law Group, P.A. to represent

her individually and incurred attorneys’ fees and costs in bringing this action. Pursuant to 29

U.S.C. § 201, et.seq., as well as applicable provisions of the NJWHL, Plaintiff is entitled to

recovery of reasonable attorneys’ fees and costs.

                                   COUNT I
                      RECOVERY OF OVERTIME COMPENSATION
                             PURSUANT TO THE FLSA

       31.     Plaintiff re-alleges, and incorporates here by reference, all allegations contained in

Paragraphs 1 through 30 above.

       32.     Plaintiff is entitled to be paid additional compensation for each overtime hour

worked per work period.

       33.     Defendants knowingly and willfully failed to pay Plaintiff at time and one half of

her regular rate of pay for her overtime hours worked in a work period.

       34.     By reason of the said intentional, willful, and unlawful acts of Defendants, Plaintiff

has suffered damages plus incurring costs and reasonable attorneys’ fees.

       35.     As a result of Defendants’ willful violations of the Act, Plaintiff is entitled to

liquidated damages.


                                   COUNT II
                      RECOVERY OF OVERTIME COMPENSATION
                            PURSUANT TO THE NJWHL

       36.     Plaintiff re-alleges, and incorporates here by reference, all allegations contained in

Paragraphs 1 through 35 above.

       37.     Defendants’ aforementioned conduct is in violation of the NJWHL.



                                                 5
  Case 2:19-cv-21077-ES-SCM Document 1 Filed 12/04/19 Page 6 of 6 PageID: 6



        38.     As a direct and proximate cause of Defendants’ actions, Plaintiff has suffered

damages, including but not limited to past lost earnings, plus incurring costs and attorneys’ fees.

        39.     As a result of Defendants’ willful violations of the Act, effective August 6, 2019,

Plaintiff is entitled to liquidated damages.

                                            JURY TRIAL

         40. Plaintiff demands a jury trial.



        WHEREFORE, Plaintiff KIA VINCENT demands judgment, against Defendants

AMERICAN DREAM HOME GOODS, INC., and JIANYING WANG, Individually, for the

payment of compensation for all overtime hours due her for the hours worked by her for which

she has not been properly compensated, liquidated damages, reasonable attorneys’ fees and costs

of suit, and for all other appropriate relief.



 Dated: December 4, 2019                             Respectfully submitted,

                                                     JAFFE GLENN LAW GROUP, P.A.

                                                     /s/Andrew I. Glenn
                                                     Andrew I. Glenn
                                                     E-mail: AGlenn@JaffeGlenn.com
                                                     Jodi J. Jaffe
                                                     E-mail: JJaffe@JaffeGlenn.com
                                                     301 North Harrison St., Ste. #9F, #306
                                                     Princeton, NJ 08540
                                                     Telephone: (201) 687-9977
                                                     Facsimile: (201) 595-0308
                                                     Attorneys for Plaintiff




                                                 6
